     Case 1:21-cv-01746-JGK-SN Document 103 Filed 04/26/22 Page 1 of 15




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


ROCHE CYRULNIK FREEDMAN LLP,

       Plaintiff,
                                              Case No. 1:21-cv-01746 (JGK)
V.


JASON CYRULNIK,

       Defendant.


JASON CYRULNIK,

       Counterclaim-Plaintiff,

V.


ROCHE CYRULNIK FREEDMAN LLP,
KYLE ROCHE, DEVIN FREEDMAN, AMOS
FRIEDLAND, NATHAN HOLCOMB, and
EDWARD NORMAND,

       Counterclaim-Defendants.




     COUNTERCLAIM-DEFENDANT KYLE ROCHE AND DEVIN FREEDMAN'S
     MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION TO DISMISS
            Case 1:21-cv-01746-JGK-SN Document 103 Filed 04/26/22 Page 2 of 15




                                                                                TABLE OF CONTENTS

TABLE OF AUTHORITIES .. .. .. .. .. .... .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. ii

INTRODUCTION .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .... .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. 1

FACTUAL BACKGROUND ... .... .. ....... .... ... .. .. .. ... ....... .. ....... ....... .. .. .. .. .. ... ... .. ....... .... ... .. .. .. .. .. ...... .. 4

I.  ROCHE FREEDMAN LLP ' S FORMATION AND OPERATIONS PRIOR TO
CYRULNIK' S ARRIVAL IN JANUARY 2020 .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. 4

II. THE FOUNDING PARTNERS EXECUTE THE MOU AND FRIEDLAND,
HOLCOMB, NORMAND, AND CYRULNIK JOIN THE FIRM .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. 5

III. FOLLOWING MONTHS OF ESCALATING MISCONDUCT, CYRULNIK IS
REMOVED FROM THE FIRM FOR CAUSE .. .. .. .. .... .. .. .. .. .. .. .... .. ... ... .. .. .... .. .. .. .. .. .. .... .. ... ... .. ...... .. 8

IV.  CYRULNIK REFUSES TO LEAVE AND INSTEAD CONCOCTS A CONSPIRACY
THEORY TO SHAKE THE FIRM DOWN ... .. .... .. .. .. .. .. .. .. .. .. ... ... .. .. .... .. .. .. .. .. .. .. .. .. .... .. .. .. .... .. .. .. .. .. 8

ARGUMENT .. .. .... .. ...... .. .. ..... ....... .. ...... .. ...... .. .. .... .. ...... .. ...... .. ...... .. .. .... .. ...... .. ...... .. ...... .. .. .... .. ...... 10

I.  CYRULNIK' S STATUTORY CLAIMS AGAINST ROCHE AND FREEDMAN
SHOULD BE DISMISSED .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. 10

II. CYRULNIK' S COMMON-LAW CLAIMS AGAINST ROCHE AND FREEDMAN
SHOULD BE DISMISSED .... .. .. .... .. .. .. ...... .. .. .. ...... .. .. .... .. .. .. ...... .. .. .. ...... .. .. .... .. .. .. ...... .. .. .. ...... .. .. .. 10

CONCLUSION ... .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. 11
           Case 1:21-cv-01746-JGK-SN Document 103 Filed 04/26/22 Page 3 of 15




                                                           TABLE OF AUTHORITIES

Cases

Condit v. Dunnex,
  317 F . Supp. 2d 344 (S.D.N.Y. 2004) ... .. .. .. ............... ........ ... .... .. ............... ........ ... .... .. .............. .. 1

Fair Ho us. Justice Ctr. Inc v. Lighthouse Living LLC,
  2021 WL 4267695 (S.D.N.Y. Sept. 20, 2021) .. .. .. .. .. .. ....... ........ ... ..... ........ ........ ........ ... ..... ....... .. 3

Other Authorities

Fla. Stat. § 620.1407 ... ... ................ ........ ... ..... ................ ........ ... .... .. ............... ... ..... ... .... .. .............. 10

Fla. Stat. § 620.8403 ......... .. .. .... .. .. ...... ... ... ........ .. .. .... .. .. ...... ... ... ........ .. .. .... .. .. ...... ... ... ........ .. .. .... .. .. 10

Fla. Stat. § 620.8701 ... .. .......... .. ...... .. .. .. ...... .. .......... .. ...... ...... .................. .. ...... .. .. .. ...... .. .......... .. .... 10




                                                                                     11
       Case 1:21-cv-01746-JGK-SN Document 103 Filed 04/26/22 Page 4 of 15




         Counterclaim-Defendants Kyle Roche and Devin Freedman respectfully submit this Mem-

orandum of Law in suppmt of their Motion to Dismiss Defendant Jason Cymlnik:'s Counterclaims.

                                               INTRODUCTION

         Cyruhrik claims this case is about "a deplorable scheme orchestrated by two lawyers,

Roche and Freedman, to illegally steal extraordinarily valuable assets by purporting to oust

Cyrnlnik from the furn they jointly founded." His allegations are false and inesponsible.

         Indeed, Cyrnlnik:'s story is based on his say-so that six of his fmmer colleagues (all officers

of the Comt) (i) conspired to fabricate allegations that he engaged in misconduct, (ii) convinced

Finn associates to join this conspiracy and likewise fabricate episodes of his misconduct, and (iii)

used those fabricated allegations as a pretext for removing him from Roche Freedman LLP ("RF"

or the "Fi.Im"). Cyrnhrik fmther claims his former colleagues effectuated this removal to justify

withholding extremely volatile c1yptoassets (the "Tokens") that a client (the "Sta1tup") would po-

tentially pay the Fi1m over a three-year period in exchange for future legal se1vices. But Cyrnlnik:'s

allegations completely ignore the reality that when he was removed, the Sta1tup could have te1mi-

nated the engagement at any time and owed no fuither Token payments to the Fi1m. More funda-

mentally, his allegations ignore the plain language of the contract he seeks to enforce, the Memo-

randum of Understanding dated December 26, 2019 (the "MOU"), which provides for a mecha-

Irism to redistribute the Tokens based on which lawyers were peifo1ming work for the Staitup. 1




1
 Although Cy:rulnik attached the MOU to his Counterclaims (see Dkt. No. 72-1), he inexplicably: omitted its Exhibits
B and C. The MOU, with those exhibits, is attached as Exhibit 2 to the Declaration of Sean Hecker ("Hecker Deel.").
Because Cy:rulnik relies on and quotes from the MOU and its exhibits (see, e.g. Dkt. No. 72 at Counterclaims ,ii 50-
52), this version may properly: be considered for pmposes ofCmmterclaim-Defendants ' motions to dismiss. See Condit
v. Dunnex, 317 F. Supp. 2d 344, 356 (S.D.N .Y. 2004) ("When a plaintiff chooses not to attach to the complaint or
incorporate by reference a document upon which it solely relies and which is integral to the complaint, the corut may
also take that document into consideration in deciding the defendants ' motion to dismiss ." (alterations and quotations
omitted)).
       Case 1:21-cv-01746-JGK-SN Document 103 Filed 04/26/22 Page 5 of 15




         Unsurprisingly, Cyrnlnik's allegations are built on little beyond the layers of rhetoric and

adjectives contained in his Counterclaims. Specifically, Cyrnlnik can only identify one fact to sup-

po11 the existence of this convoluted and allegedly "deplorable scheme" - that the price of the

Tokens (which like many c1yptoassets, is extremely volatile 2) had increased around the same time

the Fiim removed him. But that lone fact doesn't help him. Indeed, although Cyrulnik claims the

Fiin1' s allegations of his misconduct are fabricated, he ignores that those allegations are captured

in contemporaneous records that pre-date not only any Token price increase, but also the initial

launch of the Token itself These allegations of his misconduct cannot be explained away by a

subsequent increase in the price of the Tokens. There is no, and was no, "deplorable scheme" to

steal from Cyrnlnik.

         Instead, what Cyrnlnik ultimately seeks is a windfall against the Fi1m and his fo1mer col-

leagues-Roche, Freedman, Friedland, Holcomb, and Normand (together with Cyrnlnik, the

"Founding Pa11ners"). Cyrnhlik had nothing to do with securing the Sta11up retention. Roche and

Freedman signed that client up long before he joined the Fiim. Cyrnlnik has likewise never per-

fom1ed any legal work for the Startup, or even spoken to its principals. The Fiim that Cyrnlnik no

longer suppo11s, on the other hand, continues to perfo1m millions of dollars in legal work for the

Startup.

         Cyrnlnik, unburdened from working for the Sta11up or on any Fiim matters, has since

started his own nine-attorney law firm, Cyrulnik Fattarnso LLP, which competes with RF, and




                                      ··value within days ofCymlnik's removal. Within months they were down
                                        Since then, the price continues to fluctuate wildly, but has (for now) climbed
above the price at Cyruhlik ' s removal. The Tokens remain subject to major fluctuations in price, and the Firm is still
perfonning legal se1v ices for the Startup in return for the Tokens.


                                                           2
       Case 1:21-cv-01746-JGK-SN Document 103 Filed 04/26/22 Page 6 of 15




which, he boasts, has taken many of RF's clients. 3 Cyrnlnik is presumably collecting substantial

revenue from those clients and keeps that revenue all to himself. But that is, apparently, not enough

for him.

        Indeed, not satisfied to claim partnership at one law fmn at a time, Cyrnlnik has taken the

position that he is still a partner at RF and entitled to all the benefits that come with that partnership

despite the fact that he no longer contributes any of the work, responsibility, or contribution asso-

ciated with that benefit. 4

        Moreover, based on his alleged status as an RF partner, Cyrnlnik seeks to dissolve RF- a

competitor of his new film. The only way Cyrnlnik will acknowledge he is not an RF pa11ner (and

end his crnsade to dissolve the Fi1m), is if RF agrees to make continuing payments to him. Specif-

ically, if the Film agrees to pay him 25% of any Tokens the Sta11up has paid, and will ever pay,

for the Fili.n's work. He makes this demand even though at the time of his removal (i) he had never

provided any legal services to the Startup, (ii) many of the Tokens were neither earned nor paid,

(iii) the Startup could have te1minated its engagement with the Film (and thus withhold unearned

Tokens), (iv) the MOU he signed provides for a reallocation of the Tokens should he not work on

the matter, and (v) the clear intent of the MOU (as captured by the reallocation clause mentioned

above) is that Cyrnlnik should only share in Tokens paid if he ' s a pai1ner of the Film, contributing

to its success, and working on the Startup matter.

        Neither the parties' governing agreement nor applicable law pe1mit Cyrnhrik, after being

terminated for cause, to "tax" RF indefinitely by collecting a percentage of fees paid to RF by its


3
  See Hecker Deel. Ex. 5 (New York Department of State Entity Infonnation for Cymlnik Fattamso LLP); see also
Fair Haus. Justice Ctr. Inc v. Lighthouse Living LLC, 2021 WL 4267695 , at *4 (S.D.N.Y. Sept. 20, 2021) (stating
that "the Court may take judicial notice of the public Entity Infonnation provided by the New York State Depart-
ment of State, Division of Corporations Corporate and Business Entity Database") (alterations omitted).
4
  Cymlnik was never an equity partner of the Finn. (See, e.g. , Dkt. No. 31 , 18, 24). The Film will raise these
arguments for adjudication at an appropriate procedural posture.


                                                        3
      Case 1:21-cv-01746-JGK-SN Document 103 Filed 04/26/22 Page 7 of 15




clients. His claims are meritless. For purposes ofthis motion, however, Roche and Freedman seek

dismissal of the claims brought by Cyrnlnik: against them in their individual capacities, for many

of the same reasons explained in Holcomb, N01mand, and Friedland ' s Memorandum of Law in

Suppo1t of Their Motion to Dismiss. ("Holcomb Br."). In addition to joining that brief, this brief

is intended to highlight the provisions and effect of the parties ' MOU for the Comt, and overlay

those provisions and agreements onto Cyrnlnik:'s allegations to demonstrate the in1plausibility of

his claims.

        This case is not about some contrived "deplorable scheme." Instead, it is about a lawyer

t:Iying to free ride on the work, skill, and reputation of others, after his bad behavior got him fired

for cause by a unanimous vote of his fonner colleagues.

                                   FACTUAL BACKGROUND

I.     ROCHE FREEDMAN LLP'S FORMATION AND OPERATIONS PRIOR TO
       CYRULNIK'S ARRIVAL IN JANUARY 2020

       In SUl1llller 2019, Kyle Roche and Velvel Freedman left Boies Schiller Flexner LLP

("BSF") to start their own firm, Roche Freedman LLP ("RF" or the "Fi1m"). (Dk:t. No. 72 at Coun-

terclaims ("CC") ,r 25.) Roche and Freedman divided equity in their new furn 50/50 (see MOU§

II), raised over               in funding (id. § IV.A), and quickly built a successful practice that

was earning millions more in revenue. RF also represented clients in contingency and alternative-

fee matters, including a "major contingency matter" (CC ,r 37) that Roche and Freedman originated

in 2018 while at BSF, and for which Roche and Freedman ultimately obtained a "$100 million

jmy award" (id. ,r 102).

       The Firm's contingency and alternative-fee matters also included the Firm 's representation

of an innovative technology sta1tup (the "Staitup"), which agreed to pay the Firm for its legal

services with c1yptoassets (the "Tokens") that are central to Cyrnlnik: ' s Counterclaims. (Id. ,r,r 50-



                                                   4
       Case 1:21-cv-01746-JGK-SN Document 103 Filed 04/26/22 Page 8 of 15




55.). Specifically, in September 2019, shortly after RF ' s formation, and before Cyrnhrik joined

RF, the Sta1tup retained RF due to Roche and Freedman's expertise in the emerging c1ypto indus-

try. (See id. ,i 25; MOU§ IV.B.) Pursuant to the agreement governing that engagement (the "En-

gagement Letter"), RF would provide .         illion in legal se1vices to the Startup over a three-year

period. (CC ii 51 ; MOU Ex.Bat 2.)

       In exchange, RF would receive, as a fee for its se1vices,                   of certain "Token

Disu-ibutions" that the Sta1tup "intend[ ed]" to make over that period (the "Maxill1UI11 Token Fee").

(MOU Ex. B at 2; see also MOU § IV.B.)

       Under the Engagement Letter, RF ' s right to the Maxill1UI11 Token Fee was not unalterable.

The engagement could be tenninated by either pa1ty"                                                  "

(MOU Ex. Bat 5.) In that event, RF would only get -            of the Maxilllum Token Fee (earned

before Cyrnlnikjoined RF), plus an additional

                    (Id.) Accordingly, as of the date of Cyrnlnik' s removal, only -      of the Max-

ill1UI11 Token Fee had been earned and                ould only be earned if neither the Finn nor the

Sta1tup tenninated the engagement before September 2022.

 II.    THE FOUNDING PARTNERS EXECUTE THE MOU AND FRIEDLAND, HOL-
        COMB, NORMAND, AND CYRULNIK JOIN THE FIRM

       Months after Roche and Freedman fonned RF, several BSF attorneys began exploring the

possibility of joining them. On December 27, 2019, then-BSF attorneys Amos Friedland, Nathan

Holcomb, Edward Nonnand, and Cymlnik, along with Roche and Freedman (the "Founding Pa1t-

ners"), executed the MOU. (CC ,i 30.) The MOU set "out the basic te1ms upon wlrich the Founding

Pa1tners will enter into a definitive pa1tnership agreement . . . for the pmposes of building a lrigh-

end litigation law firm to be named Roche Cyrnlnik Freedman LLP. " (MOU§ I.)




                                                  5
      Case 1:21-cv-01746-JGK-SN Document 103 Filed 04/26/22 Page 9 of 15




       The MOU was "not comprehensive" and was subject to "additional tern1s, including fmther

clarification on areas of responsibility and resources to be committed," that were to "be incorpo-

rated into a formal Partnership Agreement" that was "to be negotiated." (Id.) It also made clear

that "[n]ot all rights and assets of Roche Freedman LLP will be shared according to the equity

percentages" expected at the new Fi1m. (Id. § IV.) The MOU identified some of the assets that

were to be distributed differently, and identified the Tokens as one such asset. (Id. § IV.B.)

       The MOU explained that the Staitup "has agreed to pay Roche Freedman LLP a certain

amount of Tokens over a thilty-six month period beginning on September 30, 2019." (Id.) It fmther

provided that the "Founding Partners understand that Roche Freedman LLP has agreed to distrib-

ute its [Tokens] according to" a specified "breakdown," under which Freedman, Roche, and

Cyrulnik would receive 32%, 28%, and 25% respectively. (Id.) In contrast, Friedland, Holcomb,

and Normand would only receive 5% each. (Id.) This distinction was based on the fact that Roche,

Freedman, and Cymhrik were "the only partners expected to bill to the [Sta1tup] matter." (Id.)

Indeed, the MOU provided: "In the event that fmther partner resources are required"- e.g. , Roche,

Freedman, or Cyrnlnik did not provide services to the Sta1tup or Friedland, Holcomb, or Normand

did provide such se1vices- "the Film will revisit the above distribution of the [Tokens]." (Id.)

       This stmcture made good sense. Under the compensation formula contemplated by the

MOU (see MOU § III), a Founding Partner was expected to receive        1111 of each dollar he billed
to matters he originated,.     of each dollar he billed to matters he did not originate, and -     of

eve1y dollar anyone billed to a matter he originated. (See MOU Ex. C.) The unconventional fee

anangement between the Film and the Sta1tup made it difficult to apply this strncture to hours

billed to the Staitup, so the Founding Partners settled on a default allocation based on theil· expec-

tation as to who would be billing to that matter.




                                                    6
      Case 1:21-cv-01746-JGK-SN Document 103 Filed 04/26/22 Page 10 of 15




          At the same time, the clause pennitting the Filn1 to "revisit" that allocation (the "Realloca-

tion Clause") ensured that the mitial Token distribution would be adjusted if reality deviated from

expectations. The clause thus protected a Founding Partner who spent more time than expected

working on behalf of the Sta1tup from a situation where he would receive no additional compen-

sation (i.e., no additional Tokens) for that work. Indeed, such a Founding Partner would be forgo-

ing formula compensation because he would be spending time working on behalf of the Sta1tup,

as opposed to other Film clients for which he would receive between-            and -    of each dollar

billed.

          On the other hand, the Reallocation Clause also prevented a Founding Partner who spent

less time than expected working on behalf of the Sta1tup from free-riding off of a Founding Partner

that picked up his slack. Absent the Reallocation Clause, for example, Roche, Freedman, or

Cyrnlnik could spend all of theiI· tilne billing to other Firm clients, and thus collect fo1mula com-

pensation on those other clients, without giving up any Tokens. They could thus iI1crease theiI· own

compensation, at the expense of one of theiI· colleague's compensation. This is, as explained be-

low, exactly what Cyrnlnik did.

          The newly-expanded version of the Fi1m, called RCF, launched in January 2020. (CC ,r

32.) By that point, Roche and Freedman had been providing se1vices to the Sta1tup for several

months and had ah·eady earned -           f the Tokens. (MOU Ex. C at 5.) They continued to do so

following the ani.val of the other Founding Partners. (Id. ,r 38; see also Dkt. No. 31-1 at 3.) Indeed,

although the MOU contemplated that Cyrnlnik would work on behalf of the Sta1tup, he never did.

(See Dkt. No. 31-1.) Instead, he focused exclusively on representing clients that he originated (see

CC ,r 4, 71), which enabled him to maxilnize his own personal compensation.




                                                    7
       Case 1:21-cv-01746-JGK-SN Document 103 Filed 04/26/22 Page 11 of 15




        Based on Cyrulnik's failure to perform any work for the Startup, on July 22, 2020, Roche

proposed that Tokens be reallocated from Cyrulnik to Roche and another attorney, who had both

devoted extensive time to representing the Startup. (CC ,r 58; see Dkt. No. 31-1.) Roche explained

that the "redistribution" was contemplated by the MOU, that he expected his "workload" for the

Startup to "substantially increase," and that, as a result, he was "completely at capacity" and tlms

had to pass ''up taking on additional (paying) work because of these commitments." (Dkt. No. 31-

1.) Cyrnhrik, disregarding his obligations under the MOU, ignored that proposal, which he now

mischa.racterizes, colorfully, as an ''unjust and unethical" attempt to "dupe Cyrulnik into sacrific-

ing his right to a. portion of the Tokens. " (CC ,r,r 58-59.) Of course, Roche was merely proposing

that Cyrnlnik honor his obligations under tl1e parties ' agreement voluntarily so as to a.void the need

to call a. f mmal vote invoking the Reallocation Clause.

III.    FOLLOWING MONTHS OF ESCALATING MISCONDUCT, CYRULNIK IS RE-
        MOVED FROM THE FIRM FOR CAUSE

        Following months of Cyrnlnik' s escalating misconduct and abuse, the Firm' s Founding

Pa1tners voted unanimously to remove him for cause. (See CC ,r,r 69-72; Dkt. No. 31-4.)

IV.     CYRULNIK REFUSES TO LEAVE AND INSTEAD CONCOCTS A CONSPIR-
        ACY THEORY TO SHAKE THE FIRM DOWN

        Notwithstanding his well-documented misconduct and tl1e Founding Pa1tners ' unanimous

vote to remove him, Cyrulnik refused to leave. Instead, he claimed the removal was ''void ab

initio ," because it was really just "a deplorable scheme" to " illegally steal ext::raordina1ily valuable

assets by purpo1ting to oust [him] from the fnm." (CC ,r,r 1, 86, 106.)

        Cyruhrik was, however, willing to leave the Firm if it capitulated to certain absurd de-

mands. (Id. ,r 86.) Among several "non-negotiables," Cymhrik insisted the Firm pay him 25% of

all Tokens it could ever receive from the Staitup, even if those Tokens were received for services

rendered by the Firm after Cyrulnik 's removal. (Dkt. No. 38-3.) When made, his demand meant


                                                    8
     Case 1:21-cv-01746-JGK-SN Document 103 Filed 04/26/22 Page 12 of 15




that (assuming neither the Fitn1 nor the Startup te1minated the engagement), the Film would be

obligated to (i) provide millions of dollars of hourly work to the Staitup for nearly two years,

without (ii) any assistance or supp01i from Cyrulnik, and then (iii) pay Cymlnik: 25% of the fee

paid by that client. All this while Cymlnik: operates his own finn, Cymlnik: Fattaruso LLP, and

keeps all the fees from that film.

          Cyrnlnik: made cleai· that any alternative is unacceptable to him: he alleges he rejected RF ' s

offer to provide hi.In with 6.25% of the Tokens- 25% more than what the other Founding Pa1iners

who did not provide legal services to the Startup would receive (and who, unlike Cyrnlnik:, remain

at the Film and working for its benefit). (CC ,r 87.)

          Since his "non-negotiables" were rejected, Cyrulnik: has refused to acknowledge that he is

no longer a pa1t of the Fi1m. Incredibly, to this day- more than one yeai· after his removal-

Cyrnlnik: continues to claitn that he "remains a Founding Paiiner and Co-Chairperson of RCF,"

who holds 27% of the Film's equity, and is entitled to all that entails. (Id. ,r,r 106, 115.) He has

taken this position even though he ' s started a competing film and even though "eve1y single client"

he originated while at RF has opted to follow him to Cyrulnik: Fattaruso----an "exodus" that

Cymlnik says has caused the Film to lose "most" of its "core clients and revenue." (Id. ,r,r 7, 85,

90-93).

          Seeking to further hann the furn at which he allegedly "remains" a paiiner, Cyrulnik: re-

quests that this Court dissolve RF because, among other reasons, "it is not reasonably practicable

for Cyrulnik: to carry on the business in pa1inership" with the other Founding Pa1iners. (Id. ,r,r 106,

109.) Cymlnik: thus admits he cannot work with his old colleagues, but seeks to burn the house

down on his way out to dissolve his competition. Cyrnlnik also asse1ts claitns for a buyout under




                                                     9
       Case 1:21-cv-01746-JGK-SN Document 103 Filed 04/26/22 Page 13 of 15




Fla. Stat. § 620.8701 and an accounting under Fla. Stat. §§ 620.8403 and 620.1407. (Id. ,r,r 113-

25.) Each of these claims are asse1ted against the Founding Paitners in their personal capacities.

        In addition to his statutory claims, Cyrnlnik asse1is a number of common-law claims

against Roche and Freedman. These claims, at bottom, are based on the same core allegation:

Roche and Freedman engaged in a " deplorable scheme" to manufacture cause to remove Cymlnik,

so that they could "steal" "his" Tokens. (Id. ,r,r 130-31 , 142, 147, 150, 159, 163, 171.) That alle-

gation is baseless and will be proven so at the appropriate time.

        On this naiTow motion, Roche and Freedman only seek dismissal on the legal grounds set

fo1th below and a1ticulated in their colleagues' motion to dismiss. (See generally Holcomb Br.)

                                          ARGUMENT

I.      CYRULNIK'S STATUTORY CLAIMS AGAINST ROCHE AND FREEDMAN
        SHOULD BE DISMISSED

        Roche and Freedman join Holcomb, Normand, and Friedland' s ai·gument that Cymlnik's

dissolution, buyout, and accounting claims (Counts 1, 2, and 3) can only be asserted against the

Finn. (See Holcomb Br. at 6-9.) For that reason, Cymlnik' s claims against Roche and Freedman

should likewise be dismissed.

 II.    CYRULNIK'S COMMON-LAW CLAIMS AGAINST ROCHE AND FREEDMAN
        SHOULD BE DISMISSED

        Roche and Freedman join Holcomb, Normand, and Friedland' s ai·gument that Cymlnik's

common-law clain1s for breach of contract, breach of the implied covenant of good faith, breach

of fiduciaiy duty, conversion, unjust emichment, promissory estoppel, and civil conspiracy

(Counts 4-10) should be dismissed because they concern the Fi1m' s obligations, not any individual

pa1tner's obligations. (See Holcomb Br. at 14-16.) For that reason, Cyrnlnik's claims against

Roche and Freedman should likewise be dismissed.
     Case 1:21-cv-01746-JGK-SN Document 103 Filed 04/26/22 Page 14 of 15




                                       CONCLUSION

       Roche and Freedman respectfully request, for the foregoing reasons, that the Court dis-

miss Cyrulnik's Counterclaims as against them personally.



 Dated: New York, New York
        April 26, 2022



                                                    Sean Hecker
                                                    KAPLAN HECKER & FINK LLP
                                                    350 Fifth Avenue, 6Y1 Floor
                                                    New York, New York 10118
                                                    Telephone: (212) 763-0889
                                                    shecker@kaplanhecker.com

                                                    Counsel for Kyle Roche and Devin Freedman




                                               11
       Case 1:21-cv-01746-JGK-SN Document 103 Filed 04/26/22 Page 15 of 15




                              CERTIFICATE OF COMPLIANCE

        I hereby certify that according to the word count feature of the word processing program

used to prepare trus brief, the brief contains 3,334 words (exclusive of the cover page, certificate

of compliance, table of contents, and table of authorities), and complies with Local Civil Rule

11.l of the Southern District of New York, as well as with this Court's Individual Practice Rule

2.D.




                                                              Sean Hecker




                                                 12
